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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

  LATRELL GILLETT, individually and on behalf of
  others similarly situated,
                                                   Case No. 20 Civ. 3734
                    Plaintiff,                     (KPF)

        -against-

  ZARA USA, Inc. and INDITEX USA LLC,

                    Defendants.




                      MEMORANDUM OF LAW
IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS PURSUANT TO RULE
                             12(b)(6)
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                                    PRELIMINARY STATEMENT

        Unsatisfied with the Court’s original order granting conditional certification and the

subsequent denial of their motion for reconsideration, Defendants now move to dismiss Plaintiffs’

New York Labor Law (“NYLL”) § 191(1)(a) claim.1 However, Defendants’ current motion rests

on four clearly erroneous arguments. First, Defendants state that a delay in payment causes no

injury, despite well settled legal principles to the contrary. Moreover, Defendants ignore that such

delay constitutes underpayment, a clear injury. Second, Defendants argue that Plaintiff’s

straightforward NYLL claim is preempted by a collective bargaining agreement (“CBA”) despite

there being no need to interpret the CBA to determine if a NYLL violation has occurred. Third,

Defendants outlandishly claim that the NYLL cannot be applied, because the mere existence of a

CBA vitiates the NYLL. Defendants argument in this regard ignores clear tenements of wage and

hour law. In addition, with respect to both of Defendants’ arguments regarding a CBA, Defendants

have ignored that Plaintiff was not covered by any CBA for almost all of his employment, and the

statutory period for New York Class Members began years before any CBA was implemented. In

addition, Defendants cannot rely on these documents at this stage of the litigation. Finally,

Defendants repeat a discredited argument that there is no private right of action pursuant to New

York Labor Law § 191.

        As fully set out below, Defendants’ to dismiss. should be denied in its entirety.

                                           LEGAL STANDARD

        When evaluating a defendant’s motion to dismiss under Rule 12(b)(6), a court must accept

all factual allegations as true and draw all reasonable inferences in favor of the plaintiff. See Sierra

Club v. Con-Strux LLC, 911 F.3d 85, 88 (2d Cir. 2018) (citing Trustees of Upstate New York


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 Contrary to Defendants’ assertions in their Memorandum of Law in Support of their Motion to Dismiss, Plaintiff’s
Amended Complaint did not allege any additional claims. See ECF Nos. 1, 47

                                                        1
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Engineers Pension Fund v. Ivy Asset Management, 843 F.3d 561, 566 (2d Cir. 2016)). To survive

a 12(b)(6) motion, a plaintiff’s complaint “must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” See Campos v. Aegis Realty Management

Corp., No. 19 Civ. 2856 (KPF), 2020 WL 433356, at *3 (S.D.N.Y. Jan. 28, 2020) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

        Furthermore, a motion to dismiss under Rule 12(b)(6) “challenges only the ‘legal

feasibility’ of a complaint” and must rely on a “narrow universe of materials”. See Goel v. Bunge,

LTD., 820 F. 3d 554, 558 (2d Cir 2016) (citing Global Network Commc'ns, Inc. v. City of New

York, 458 F.3d 150, 155 (2d Cir.2006)). In this regard, a problem “arises when a party seeks to

introduce affidavits, depositions or other extraneous documents not set forth in the complaint for

the court to consider on a Rule 12(b)(6) motion.” See Cortec Industries, Inc. v. Sum Holding L.P.,

949 F.2d 42, 47 (2d Cir. 1991).

                                          ARGUMENT

   I.      DEFENDANTS’ NYLL 191(1)(a) VIOLATIONS HAVE INJURED PLAINTIFF

        Defendants’ first argument regarding NYLL 191 focuses on standing, and stems from

their misunderstanding of the Supreme Court’s recent holdings in TransUnion, LLC v. Ramirez

and Spokeo, Inc. v. Robins. See 141 S. Ct. 2190 (2021); 136 S. Ct. 1540 (2016). However,

Defendants stretch these cases to an extreme proposition they do not stand for, as both cases found

or explained instances of concrete harm that are far less than what Plaintiff has alleged here. See

TransUnion, 141 S. Ct. at 2208-2209 (holding that plaintiffs whose credit files were provided to

third parties with false information had Article III standing); Spokeo 136 S. Ct. at 1549 (“This

does not mean, however, that the risk of real harm cannot satisfy the requirement of

concreteness… [f]or example, the law has long permitted recovery by [slander per se] victims



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even if their harms may be difficult to prove or measure”) (internal citations omitted). Neither of

these cases articulate a strict standard where a plaintiff must articulate the intimate details of a

tangible injury. See Spokeo 136 S. Ct. at 1549 (“[c]oncrete is not, however, necessarily

synonymous with tangible… it is instructive to consider whether an alleged intangible harm has

a close relationship to a harm that has traditionally been regarded as providing a basis for a

lawsuit”). Moreover, these cases only address federal statutes. See Caul v. Petco Animal Supplies,

Inc. No. 20 Civ. 3534 (RPK) (SJB), 2021 WL 4407856, at *4 (E.D.N.Y. Sept. 27, 2021)

(“[NYLL] 191 and 198 are state enactments, not federal ones. [d]efendants point to no authority

for the proposition that state causes of action should be construed narrowly to ensure that federal

courts can adjudicate them”).

        Moreover, it is not only clear that delay in payment constitutes a concrete harm, but that

violations of NYLL § 191(1)(a) constitute underpayments for which there can be no question of

injury. See Caul, 2021 WL4407856, at *4 (“the late payment of wages is a concrete harm”).

            A. Delay in Payment Causes Injury

        Defendants fail to address that multiple courts have found that mere delay in payment

constitutes concrete injury. See e.g. Caul, 2021 WL 4407856, at *4; Porsch v. LLR, Inc., 380 F.

Supp. 3d 418, 424 (S.D.N.Y. 2019) (“temporary deprivation of money to which a plaintiff has a

right constitutes a sufficient injury in fact to establish Article III standing”). Moreover, it is a well

settled financial principle that the time value of money is more in the present than the future. See

Habitat Educ. Ctr. v. U.S. Forest Serv., 607 F.3d 453, 457 (7th Cir. 2010) (“[e]very day that a sum

of money is wrongfully withheld, its rightful owner loses the time value of the money”).

        Depravation of wages is an “especially acute” injury for manual workers, as they are

“generally dependent on their wages for sustenance.” Caul, 2021 WL 4407856, at *4 (quoting



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Vega v. CM & Assocs. Constr. Mgmt., LLC, 175 A.D.3d 1144 (N.Y. App. Div. 2019)); see also

People v. Vetri, 309 N.Y. 401, 405 (1955). It may be that Defendants, who operate a multi-billion-

dollar business, do not identify why it is important for their manual worker employees to have the

wages they have earned accessible as soon as possible, but that does not mean that they have not

been injured. See e.g., Nishant Choksi, Helping Low-Income Workers Stay Out of Debt, Havard

Business Review (2020) (“Stagnant wages, a rising cost of living, and increasingly irregular

schedules routinely force many working Americans onto a financial knife’s edge; they’re able to

pay their usual bills but lack a buffer to handle even small financial shocks. Part of the problem is

that most U.S. workers are paid biweekly”).

        This is further evidenced by the necessity of New York’s law outlawing predatory “payday

loans.” See 190 NY Penal Law § 1940.40; 2 NY Bank Law § 14-a; see also People v. County Bank

of Rehoboth Beach, Delaware, 45 A.D. 1136 (3rd Dept. 2007) (“Payday loans are typically small,

short-term loans that the borrower agrees to repay on the borrower's next payday. Because of the

short term of the loan, the annual interest rate of a payday loan will invariably exceed the maximum

interest rate permitted in New York”); Mary Caplan, Do We Know What We Think About Payday

Loan Borrowers, Western Michigan University, 44 The Journal of Sociology & Social Welfare 2

(2017) (finding that payday loans target “mostly people who are economically marginalized.” and

are used to “meet basic needs” and are a “resource of last resort”).

       Delay has further been found to satisfy standing in wage and hour cases. See e.g. Andrews

v. Rite Aid Corp., No. 20 Civ. 4521 (VSB) (S.D.N.Y. Mar. 11, 2021) (oral argument transcript

attached as Ex. A) (citing Rogers v. City of Troy, 148 F. 3d 52, 57 (2d Cir. 1998). (finding a delay

in payment amounting to $2.96 satisfied Article III standing). This is the exact type of “traditional”

harm Judge Alito confirmed to constitute concrete injury in Spokeo. See 136 S. Ct. at 1549.



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       In addition, the logical conclusion of Defendants’ argument that delay does not cause injury

stands for the proposition that Defendant could avoid paying any wages due until the exact second

before an employee filed a complaint, be it months or years, and no harm would have occurred.

This would clearly be in direct contravention of the fundamental purpose of NYLL 191, which is

to ensure such late payments do not occur. Thus, Defendants’ argument in this regard must fail.

           B. A Violation of NYLL § 191(1)(a) Constitutes Underpayment

       Defendants do not attempt to justify their position that delay does not cause injury, nor do

Defendants grapple with the consistent findings that NYLL § 191(1)(a) violations constitute

underpayments which trigger the liquidated damage provisions of NYLL § 198. See e,g, Sorto v.

Diversified Maint. Sys., No. 20 Civ. 1302 (JS)(SIL), 2020 WL 8413553, at *2 (E.D.N.Y. Nov.

15, 2020) (report and recommendation adopted 2020 WL 7693108 (Dec. 28, 2020) (“the moment

that an employer fails to pay wages in compliance with section 191(1)(a), the employer pays less

than what is required") (quoting Vega, 175 A.D. 3d at 1145)

       The instant matter is a perfect example of where an underpayment occurred due to a

violation of NYLL § 191(1)(a). Plaintiff here alleges he was a manual worker as contemplated by

the statute, and that Defendants owed him his lawfully earned pay within seven days of the week

in which he completed his work. See ECF No. 47 (Amd. Compl.) ¶¶ 63-66. Accordingly, Plaintiff

was owed his wages for the week beginning June 17, 2018 and ending June 23, 2018 on June 30,

2018. See Amd. Compl. ¶¶ 65-66. However, June 30, 2018 passed without Plaintiff receiving any

of his wages. See id. Accordingly, as of July 1, 2018 Plaintiff had been paid “less than what is

required.” See Vega, 175 A.D. 3d at 1145 (citing Merriam-Webster's Collegiate Dictionary 1364

[11th ed 2012]).




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       Defendant protests that they eventually compensated Plaintiff for the hours he worked,

but this is only a partial defense This is because at the time they paid Plaintiff, he was not only

entitled to the underlying wages, he was also entitled to liquidated damages, interest, and even

injunctive relief for the violations which occurred when his wages were not paid by their due date.

These remedies are set forth in NYLL § 198, and they could not be clearer. See Duverny v.

Hercules Medical P.C., No. 18 Civ. 7652 (DLC), 2020 WL 1033048, at *5 (S.D.N.Y. Mar. 3,

2020) (citing Vega, 107 N.Y.S. 3d at 288) (“[a] plaintiff's entitlement to statutory damages

pursuant to [NYLL] § 198(1-a) survives even if the employer pays the employee's base wages

prior to the commencement of a civil action”).

       Surely, Defendants are not arguing that the liquidated damages provisions of New York

Labor Law § 198 that compensate a Plaintiff for underpayments are unconstitutional, nor could

they. After all, there are “no meaningful differences” between NYLL § 198 and 29 U.S.C § 216.

See Lowes Home Centers, Inc. v. Rodrigue, No. 20 Civ. 1127 (RPK) (RLM), 2021 WL 3838268,

at *5 (Aug. 7, 2021) (quoting Rana v. Islam, 887 F.3d 118, 123 (2d Cir. 2018)). Pointedly,

Defendants are not moving to dismiss Plaintiffs’ liquidated damage claims for overtime and

spread of hours violations under the NYLL, as they know this would not pass the smell test.

However, there is not a functional difference between liquidated damages under NYLL §198 for

frequency of pay violation versus overtime violations, as both constitute underpayments.

       It is more than clear, that being underpaid constitutes a “concrete” injury. As such,

Plaintiff’s Article III standing is established for his NYLL § 191(1)(a) claim.

   II. DEFENDANTS’ PURPORTED CBA HAS NO EFFECT ON THIS LITIGATION

       Defendants offer CBAs in support of their arguments regarding preemption. However, the

documents are not appropriate to apply to a motion to dismiss under Rule 12(b)(6). Moreover, they



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do not cover the full extent of Plaintiff’s employment nor the statutory period for his NYLL § 191

claims. Even if the Court considers these documents, they do not provide any relief to Defendants

as there is no basis for a finding of preemption, nor can the existence of a CBA relieve Defendants’

obligations under the NYLL.

             A. The Court Should Not Take Judicial Notice of the CBAs

          When a Rule 12(b)(6) motion presents matters outside the pleadings, the court is afforded

two options: (1) to exclude the extrinsic documents, or (2) to convert the motion to one for

summary judgement and allow the parties to conduct appropriate discovery. See Chambers v. Time

Warner, Inc., 282 F. 3d 147, 154-155 (2d Cir. 2002). This is a “mandatory rule” which ensures

fairness to a plaintiff and makes sure the plaintiff will “have an opportunity to contest defendants’

relied-upon evidence by submitting material that controverts it.” See Global Network

Communications, Inc. v. City of New York, 458 F. 3d 150, 155 (2d Cir. 2006) (internal citations

omitted).

          The only exception to this bright line rule is that a court may also consider “materials

integral to the complaint,” meaning materials the plaintiff “relied on” in drafting the complaint, or

“materials subject to judicial notice.” Id. Materials subject to judicial notice include matters of

public record, however these records are not to be used for the “truth of the facts asserted.” Id.

(citing Lum v. Bank of America, 361 F.3d 217, 222 n. 3 (3d Cir.2004)).

          The Second Circuit has explicitly held that “it is inappropriate for a court to consider

a CBA in evaluating a motion to dismiss claims not dependent on the CBA and where no facts

about the CBA are alleged in a plaintiff's complaint” See Kaye v. Orange Regional Medical

Center,     975    F.   Supp.    2d   412,   419       (S.D.N.Y.   2013)   (citing Nakahata v. N.Y.-

Presbyterian Healthcare Sys., Inc., 723 F.3d 192, 202–03 (2d Cir.2013); see also Jordan v. MV



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Transportation, Inc., No. 14 Civ. 3759 (NGG) (JO), 2016 WL 748115, at *4-5 (E.D.N.Y. Feb. 3,

2016) report and recommendation adopted 2016 WL 754358 (Fed. 24, 2016) (finding Defendants’

attempt to introduce a CBA for the purposes of a Rule 12(b)(6) motion “procedurally premature”).

Moreover, Plaintiff is the “master of the complaint,” and not responsible for pleading a CBA into

his complaint. See Nakahata, 723 F.3d at 203. Instead, “[i]t is a defendant's responsibility to raise

preemption by the CBA as a defense, but ... a motion addressed to the adequacy of the pleadings

is not necessarily the proper place for preemption to be decided.” See id.

       Defendants cite two cases in a footnote of their Memorandum of Law to justify judicial

notice. See Cox v. Perfect Bldg. Corp., No. 17 Civ. 7474 (VEC), 2017 WL 3049547 (S.D.N.Y. Jul.

18, 2017) and Granados v. Harvard Maint., Inc., No. 05-CV-5489 (NRB), 2006 WL 435731

(S.D.N.Y. Feb. 22, 2006) However, neither of these cases concern preemption or the NYLL. Cox,

2017 WL 3049547, at *3 (contemplating judicial notice of an arbitration award for the purposes

of issue preclusions); Granados, 2006 WL 435731 at *3-4 (discussing a CBA’s provisions

regarding discrimination). Accordingly, these decisions offer no support to Defendants. Instead, it

is clear that it would be inappropriate to consider Defendants’ CBA at this time for the purposes

of preemption. Moreover, defendants did not ask the Court to alternatively consider their motion

as one for summary judgment.

           B. The CBA Does Not Cover The Full Time Period of Plaintiff’s Claims

       Should the Court take judicial notice of the CBA, Defendants cannot dispute that it does

not cover the majority of Plaintiff’s claims. Plaintiff worked from March 2018 to August 17, 2019

in Defendants’ Staten Island and Brooklyn locations. See Amnd. Compl. ¶ 59; ECF No. 28-2 ¶ 2.

Defendants’ purported CBA for these locations did not come into effect until July 1, 2019. See

ECF No. 56-3, pg. 19.



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       Moreover, Plaintiff has alleged his NYLL § 191(1)(a) claims on behalf of a class of all

Hourly Workers in New York whose statutory period runs back to May 14, 2014. See Amnd.

Comp. ¶ 49. Defendants’ earliest dated CBA is on April 11, 2017 and is effective only at their

locations in Manhattan. See ECF No. 56-1, pg. 19.

       Accordingly, Defendants’ CBAs cannot fully cover all of Plaintiff’s, nor the putative Class

Members,’ NYLL claims, because they were not in effect for the large periods of Plaintiff’s claims.

See Kaye, 975 F. Supp. 2d at 421 (“the Court cannot see how [d]efendant could argue [t]hat the

CBA, which [d]efendant and the [u]nion entered into [after the beginning of the class period]

preempts [p]laintiff’s claims”). Clearly, Plaintiff’s claims from before the implementation of the

CBA “are necessarily independent from, and do not require interpretation of” any CBA. See id;

see also Levy v. Verizon Info. Servs. Inc., 498 F.Supp.2d 586, 593 (E.D.N.Y.2007) ((“[MLRA §

301's sweeping preemptive force applies only where state law claims coincide with current

collective bargaining agreements”).

           C. Plaintiff’s NYLL § 191(1)(a) Claim Is Not Preempted By Any CBA

       As to the periods of Plaintiff’s employment covered by Defendants’ CBAs, it is clear that

no interpretation of any of the CBAs’ provisions are necessary to determine Plaintiff’s claims

pursuant to the NYLL and FLSA. Section 301 of the LMRA preempts claims where they are

“founded directly on rights created by collective-bargaining agreements, and also claims

‘substantially dependent on analysis of a collective-bargaining agreement.’” Isaacs v. Central

Parking Systems of New York, Inc., No. 10 Civ. 5736 (ENV)(LB), 2012 WL 957494, at *2

(E.D.N.Y. Feb. 27, 2012) (citing Caterpillar Inc. v. Williams, 482 U.S. 386, 394 (1987) (emphasis

added). However, “not every dispute concerning employment, or tangentially involving a

provision of a collective-bargaining agreement, is pre-empted.” Ramirez v. Riverbay Corp., 35 F.



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Supp. 3d 513, 523 (S.D.N.Y. 2014) (citing Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 211

(1985). “The test for determining whether a claim is preempted by § 301 is “whether the [claim

implicates] . . . rights [of] employers or employees independent of any right established by

contract, or, instead, whether evaluation of the . . . claim is inextricably intertwined with

consideration of the terms of the labor contract.” Id.

       As Defendants point out, “Kaye v Orange Regional Medical Center is instructive.” See

ECF No. 55, pg. 20 (citing Kaye, 975 F. Supp. 2d at 421). In Kaye, the plaintiff asserted NYLL

claims for unpaid overtime that the Court found to have no ties to the CBA. See Kaye, 975 F. Supp.

2d at 421 (“it appears to be well settled that claims pursuant to N.Y. Labor Law are truly

independent of rights under the CBA”). Judge Karas further determined that the CBA did not

preempt Plaintiff’s claims under the NYLL, because any CBA provision would “[a]t most …need

to be merely referenced” to resolve the plaintiff’s NYLL Claims. See id.

       Courts in this Circuit routinely hold similar to Kaye to find that NYLL claims are not

preempted by the mere existence of a CBA. See e.g. Kyecsek v. J.P. Hogan Corning & Sawing,

Corp., No. 18 Civ. 1023 (PAC); 2019 WL 1059998, at *4 (S.D.N.Y. Mar. 6, 2019) (finding

plaintiff’s NYLL claims “independent” and “distinct” from a CBA); Jordan, 2016 WL 748115, at

*5 (“[plaintiff’s] claims require little, if any, analysis of the CBAs. A state claim is not preempted

if its application requires mere referral to the CBA for information such a rate of pay”); Mclean v.

Garage Management Corp., No. 10 Civ. 3950 (DLC), 2011 WL 1143003, at *3 (S.D.N.Y. Mar.

29, 2011) (quotations omitted) (“[LMRA § 301] does not preempt actions to enforce “state

prescribe[d] rules ... rights and obligations that are independent of a labor contract…even if

resolving a dispute under a state law claim and the CBA “would require addressing precisely the

same set of facts, as long as the state law claim can be resolved without interpreting the agreement



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itself”); Polanco v. Brookdale Hospital, 819 F. Supp. 2d 129, 133 (E.D.N.Y. 2011) (quoting Lingle

v. Norge Division of Magic Chef, Inc., 486 U.S. 399, 408 (1987) (“[e]ven if resolution of a state-

law claim ‘involves attention to the same factual considerations as the contractual determination

... such parallelism does not mandate preemption’”).

       Defendants only point to two cases in support of their position, Johnson v. D.M. Rothman

Co., and Hoops v. KeySpan Energy, both of which are far from analogous to the current matter.

See 861 F. Supp. 2d 326 (S.D.N.Y. 2012); 794 F. Supp. 3d 371 (E.D.N.Y. 2011). Both Johnson

and Hoops concerned whether the plaintiffs were entitled to differential payments which stemmed

directly from the CBA, not the NYLL. See Johnson, 861 F. Supp. 2d at 328 (“[p]laintiffs claim

that [defendant] failed to include certain wage differentials owed to them under the governing

Collective Bargaining Agreement”) (emphasis added); Hoops, 794 F. Supp. 3d at 379 (“[p]laintiff

acknowledges that the [c]ourt will first have to determine ‘what straight-time Plaintiff was entitled

to be paid (including night differential premium pay for hours worked during night shifts)” before

reaching [plaintiff’s overtime claims]). Clearly, the right to differential payment under a contract

does not implicate a standalone statutory NYLL claim. See Hoops, 794 F. Supp. 3d at 378 (“any

right the [p]laintiff may have to receive shift differentials [is] derived from the CBA”).

       In the present matter, Plaintiff has alleged that he was not paid on a timely basis according

to NYLL § 191(1)(a). Nowhere in Plaintiff’s complaint does he allege that he derives any right to

timely pay from any CBA. Similarly, Defendants do not point to any CBA provision regarding

timely pay or explain in any way what “will be necessary to interpret” within those CBAs. See

ECF No. 55, pgs. 21-22. Moreover, even if Defendants were able to identify a CBA provision

regarding timely pay, it is clear that the NYLL claims is at most “parallel” to the CBA, because

Plaintiff finds all of his rights within the NYLL. See Polanco, 819 F. Supp. 2d at 134 (“parallelism



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does not mandate preemption”). Accordingly, Defendants’ argument regarding preemption falls

flat.

           D. The Existence of a CBA Does Not Vitiate NYLL Rights

        Having failed to establish the traditional preemption defense, Defendants turn next to a

more innovative argument, that New York Labor Law § 191 is entirely preempted by the National

Labor Relations Act. Defendants’ argument in this regard fails entirely,

        It is well established that the NYLL establishes separate rights than a CBA. See Kyecsek,

2019 WL 1059998, at *4 (S.D.N.Y. Mar. 6, 2019) (quoting Kaye, 975 F. Supp. 2d at 422) (“it is

‘well settled’ that claims pursuant to N.Y. Labor Law are ‘truly independent of rights under the

CBA.’). It is further established that a CBA does not override these rights See Livada v. Bradshaw,

512 U.S. 107, 123 (1994) (“Section] 301 cannot be read broadly to pre-empt nonnegotiable rights

conferred on individual employees as a matter of state law”); Polanco, 819 F. Supp. 2d at 133

(Section 301, however, does not preempt state claims when state law confers an independent

statutory right to bring a claim”).

        Defendants’ argument regarding San Diego Building Trades Council v. Garmon misses the

mark, as Garmon does not concern the ability of a state to form their own wage and hour

enforcement laws. See San Diego Building Trades Council v. Garmon, 79 S. Ct. 773, 775 (1959)

(finding that California courts did not have the power to step into the place of the NLRB where

the NLRB refuses to exercise jurisdiction over a dispute between competing unions). Again, the

NLRA does not “broadly” preempt state law. See Livada 512 U.S. at 123. If Defendants’ analysis

on this front was correct, no state could ever seek to establish their own wage and hour laws,

because doing so would intrude upon the NLRB’s jurisdiction.




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       In addition, Defendants’ “past practice” argument is nonsensical. A valid past practice

cannot be illegal. See Jackson Purchase Rural Elec. Co-op. Ass’n. v, Local Union 816, IBW of

Electrical Workers, 646 F. 2d 264, 267 (6th Cir. 1981) (overturning an arbitrator’s award that relied

upon an illegal past practice, because there could be “no justified expectation” that an illegal

agreement would continue). Moreover, if Defendant’s stance was valid, an employer could claim

any type of labor law violation was a “past practice,” including the failure to pay overtime, and

therefore preempt a plaintiff’s claims. In the instant matter, Defendant is only making this

argument in regards to NYLL § 191, likely because they are aware that such an argument against

provisions regarding failure to pay overtime or spread hours would be senseless. Again, there is

no functional difference between the NYLL § 198’s application to untimely wage payments or

overtime violations, because both result in underpayment. Defendants cannot simply ignore the

NYLL because they eventually agreed to a CBA.

   III. A PRIVATE RIGHT OF ACTION EXISTS FOR VIOLATIONS OF NYLL § 191

       Whether or not NYLL § 191 contains a private right of action is purely a question of state

law. Where there is no case law from the Court of Appeals on an issue of state law, federal courts

follow the rulings of the state appellate courts. See DiBella v. Hopkins, 403 F.3d 102, 112 (2d Cir.

2005) (“rulings from [state intermediate appellate courts] are a basis for ‘ascertaining state law

which is not to be disregarded by a federal court unless it is convinced by other persuasive data

that the highest court of the state would decide otherwise”) (quoting West v. Am. Tel. & Tel.

Co., 311 U.S. 223, 237 (1940)).

       The only applicable appellate court ruling is Vega. See Caul, 2021 WL 4407856, at *2-3;

(finding that Vega was the only state appellate court ruling regarding NYLL § 191, and that ); see

also Rodrigue, 2021 WL 3848268, at *5; Scott v. Whole Foods Market Group, Inc., No. 18 Civ.



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86 (SJF)(AKT), ECF Doc. No. 58, (E.D.N.Y. Feb. 5, 2020) (affirming the courts’ prior ruling to

deny defendant’s motion to dismiss § 191 claims, and describing Vega as the “lone decision from

an intermediate court [that] is factually analogous”); Sorto v. Diversified Maint. Sys., LLC, No. 20-

CV-1302(JS)(SIL), 2020 WL 7693108, at *2-3 (E.D.N.Y. Dec. 28, 2020) (same); Duverny v.

Hercules Medical P.C., No. 18cv07652 (DLC), 2020 WL 1033048, at *5-6 (S.D.N.Y. Mar. 3,

2020) (same);

       Defendants point to the IKEA case, but that decision has no bearing on whether a private

right of action exists. See e.g. Caul, 2021 WL 4407856 at *3 (“the Second Department decision

[Ikea v. Indus. Bd. of Appeals] … did not controvert the explicit holding of Vega); Rodrigue, 2021

WL 3848268, at *5 (“Ikea does not address whether employees may obtain liquidated damages

for untimely payments”); Quintanilla v. Kabco Pharmaceuticals, No. 19 Civ. 6752 (E.D.N.Y. Jun

30, 2020) (oral argument transcript attached as Ex. B) (“IKEA didn’t address [a private right of

action], and I think it’s quite difficult to read into IKEA any ruling at all on this precise issue,

whether there is a private right of action under [NYLL] 191”); Sorto, No. 20 Civ. 1302 (JS)(SIL),

ECF Doc. No. 24, pg. 3 (“IKEA addressed whether there was substantial evidence to support a

determination by the Commission of Labor under section 191 – it did not address whether a private

right of action exists”); Phillips v. Max Finkelstein, Inc., Index No. 2020/542SC, 2021 WL

4075089, at *1 (N.Y. Sup. Ct. App. Term Aug. 26, 2021) (“unlike Vega, which, like the case at

bar, arose from a plenary action for damages, in IKEA, the Second Department merely confirmed

the determination of the Commissioner of Labor that an employer's payment frequency constituted

a violation NYLL § 191 (1)(a)”).

       Defendants can only point to pre-Vega cases for their proposition that there is no private

of action for a violation of NYLL § 191. For example, in Hussain v. Pakistan Int’l Airlines, the



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court equated a failure to pay timely wages with an internal recordkeeping violation. No. 11 Civ.

932 (ERK)(VVP), 2012 WL 5289541, at *3 (E.D.N.Y. Oct. 23, 2012). However, this clearly

ignores the legislative intent of NYLL § 191(1)(a) whereby hourly manual workers must be paid

within seven days of the end of their workweek. Failure to comply with the statute results in direct

harm to a manual worker. See Vega, 175 A.D. 3d at 1145. Similarly, both Gardner v. D&D

Electrical Const. Comp., Inc. and Hunter v. Planned Bldg. Servs., Inc. cite Hussain to find that

late payments do not afford a private right of action. No. 160249/2018, 2019 N.Y. Slip Op.

32389(U) (N.Y. Sup. Ct. Aug. 7, 2019); No. 715053/0217, 2018 N.Y. Slip Op. 31541 (N.Y. Sup.

Ct. 2018).

       Each of these cases argue that untimely wage payments do not constitute an underpayment

of wages by comparing the requirements of NYLL § 191 to statutes requiring employers to provide

lunch breaks and keep accurate internal records. Id. As explained above, the key difference

between these statutes and NYLL § 191 is that a failure to provide lunch breaks or keep internal

records are not issues that are directly related to the payment of wages. On the other hand, NYLL

§ 191 lays out direct requirements to pay timely wages, meaning that a delay in payment of wages

constitutes an underpayment under New York law. See Vega, 175 A.D. 3d at 1145 (stating “the

moment that an employer fails to pay wages in compliance with section 191(1)(a), the employer

pays less than what is required”). These cases, which rely on statutes which do not relate to the

payment of wages, should not be granted deference by the Court.

       The one and only post-Vega case from this Circuit that Defendants can point to in support

of their assertion that there is no private right of action is Arciello v. County of Nassau, which does

not address untimely payments made under NYLL § 191(1)(a), but instead discusses untimely

overtime wages. No. 16 Civ. 3974, 2019 WL 4575145, at *8 (E.D.N.Y. Sept. 20, 2019).



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Furthermore, while the Arciello decision was published ten days after Vega, the last brief filed on

the motion to dismiss was filed before the Vega decision, and no supplemental authority was

provided to the Court. See No. 16 Civ. 03974 (JMA)(SIL) (E.D.N.Y.) (ECF Nos. 227, 235). Thus,

it appears that the Arciello court was unaware of Vega when rendering its decision. See also Caul,

2021 WL 4407856 at *3 (noting that Arciello did not address Vega and relied only on pre-Vega

cases).

          Consequently, Defendants have offered this Court very little with which to contravene the

First Department’s decision in Vega, and the overall weight of authority supports Plaintiff’s

position that there is a private right of action under NYLL § 191(1)(a). Therefore, the Court should

find that a private right of action exists under this statute.

                                           CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Defendants’ Motion in its entirety.



          Dated: October 13, 2021
                 New York, New York

                                                Respectfully submitted,

                                                By: /s/ Brian S. Schaffer

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